              Case 20-12729-BFK                   Doc 1     Filed 12/17/20 Entered 12/17/20 12:56:56                               Desc Main
                                                            Document     Page 1 of 18

Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF VIRGINIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                VP Construction, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2160 N. Glebe Rd., Suite A
                                  Arlington, VA 22207-2263
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Arlington                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              Case 20-12729-BFK                      Doc 1       Filed 12/17/20 Entered 12/17/20 12:56:56                                      Desc Main
                                                                 Document     Page 2 of 18
Debtor    VP Construction, LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
             Case 20-12729-BFK       Doc 1     Filed 12/17/20 Entered 12/17/20 12:56:56                   Desc Main
                                               Document     Page 3 of 18
Debtor   VP Construction, LLC                                                    Case number (if known)
         Name




Official Form 201               Voluntary Petition for Non-Individuals Filing for Bankruptcy                          page 3
             Case 20-12729-BFK                   Doc 1       Filed 12/17/20 Entered 12/17/20 12:56:56                                  Desc Main
                                                             Document     Page 4 of 18
Debtor   VP Construction, LLC                                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
              Case 20-12729-BFK                 Doc 1       Filed 12/17/20 Entered 12/17/20 12:56:56                                 Desc Main
                                                            Document     Page 5 of 18
Debtor    VP Construction, LLC                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 17, 2020
                                                  MM / DD / YYYY


                             X   /s/ Karl Timothy vanVonno                                                Karl Timothy vanVonno
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Steven B. Ramsdell,                                                   Date December 17, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Steven B. Ramsdell, 33222
                                 Printed name

                                 Tyler, Bartl & Ramsdell, PLC
                                 Firm name

                                 300 N. Washington St.
                                 Suite 310
                                 Alexandria, VA 22314
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (703) 549-5000                Email address


                                 33222 VA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
            Case 20-12729-BFK                         Doc 1          Filed 12/17/20 Entered 12/17/20 12:56:56                   Desc Main
                                                                     Document     Page 6 of 18




 Fill in this information to identify the case:

 Debtor name         VP Construction, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 17, 2020                       X /s/ Karl Timothy vanVonno
                                                                       Signature of individual signing on behalf of debtor

                                                                       Karl Timothy vanVonno
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                 Case 20-12729-BFK                         Doc 1      Filed 12/17/20 Entered 12/17/20 12:56:56                                          Desc Main
                                                                      Document     Page 7 of 18

 Fill in this information to identify the case:
 Debtor name VP Construction, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF VIRGINIA                                                                                 Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Andrew Krug                                                    Construction            Unliquidated                                                                      $43,000.00
 5605 4th St. S.                                                contract/pending        Disputed
 Arlington, VA 22204                                            lawsuit
 Ariana Papanicolas                                             Personal                                                                                                  $50,000.00
 1806 E. Third St.                                              loan/pending
 Farmville, VA 23901                                            lawsuit
 Builder Services                                               Pending lawsuit         Unliquidated                                                                      $24,781.86
 Group, Inc.                                                                            Disputed
 d/b/a Davenport
 Insulation
 7400 Gateway Ct.
 Manassas, VA
 20109-7312
 Builders Insulation                                            Subcontract                                                                                               $39,000.00
 CWI Holdings
 615 Falmourth St.
 Warrenton, VA 20186
 Carter Lumber                                                  Subcontract                                                                                             $257,000.00
 P.O. Box 40
 Kent, OH 44240-0001
 Deborah Papanicolas                                            Personal                                                                                                $250,000.00
 4881 Wheatstone Dr.                                            loans/pending
 Fairfax, VA 22032                                              lawsuit
 Eric & Erin McNett                                             Pending lawsuit         Unliquidated                                                                      $55,070.00
 5947 8th Rd. N.                                                                        Disputed
 Arlington, VA 22205
 HDS Drywall Service,                                           Subcontract                                                                                               $31,000.00
 Inc.
 43760 Trade Center
 Pl.
 Suite 150
 Sterling, VA
 20166-2188
 Jason & Chandra                                                Construction                                                                                              $12,500.00
 Olson                                                          contract
 5165 11th St. S.
 Arlington, VA 22204


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                 Case 20-12729-BFK                         Doc 1       Filed 12/17/20 Entered 12/17/20 12:56:56                                         Desc Main
                                                                       Document     Page 8 of 18


 Debtor    VP Construction, LLC                                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Michael & Sara                                                 Construction            Unliquidated                                                                    $300,000.00
 Grawe                                                          contract/pending        Disputed
 5721 5th St. N.                                                lawsuit
 Arlington, VA 22205
 Ming Yun Zhao                                                  Investment                                                                                                $45,000.00
 22 Arden St.
 Berlin, MD 21811
 Nissan Motor                                                   Deficiency balance                                                                                        $39,638.73
 Acceptance                                                     remaining after
 P.O. Box 660366                                                repossession of
 Dallas, TX                                                     2018 Nissan Titan
 75266-0366                                                     SV (Black)
 Paintworx                                                      Subcontract                                                                                               $80,000.00
 45687 Elmwood Ct.
 Sterling, VA 20166
 Reade Bush                                                     Arbitration suit        Unliquidated                                                                    $350,000.00
 5849 N. 21st St.                                                                       Disputed
 Arlington, VA 22205
 Salvatore & Natalie                                            Construction            Unliquidated                                                                    $101,200.00
 D'Itri                                                         contract/pending        Disputed
 221-217 N. Galveston                                           lawsuit
 St.
 Arlington, VA 22203
 Small Business                                                 EIDL loan                                                                                               $123,000.00
 Administration
 14925 Kingsport Rd.
 Fort Worth, TX
 76155-2243
 Thomas & Ellen Boyd                                            Construction            Unliquidated                                                                      $36,200.00
 5706 6th St. N.                                                contract                Disputed
 Arlington, VA 22205
 Tyler Papanicolas                                              Personal                                                                                                  $40,000.00
 4881 Wheatstone Dr.                                            loan/pending
 Fairfax, VA 22032                                              lawsuit
 Waypoint                                                       Supplier                                                                                                  $11,430.87
 Cabinets/American
 3102 Shawnee Dr.
 Winchester, VA
 22601
 Wesley Smiler                                                  Promissory                                                                                                $50,000.00
 2016 N. Adams St.,                                             note/pending
 Apt. 802                                                       lawsuit
 Arlington, VA 22201




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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            Case 20-12729-BFK                         Doc 1          Filed 12/17/20 Entered 12/17/20 12:56:56                                Desc Main
                                                                     Document     Page 9 of 18
                                                               United States Bankruptcy Court
                                                                      Eastern District of Virginia
 In re      VP Construction, LLC                                                                                      Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Karl Timothy vanVonno                                                                100%                                       Sole member
 2006 Pony Island Ln.
 Berlin, MD 21811


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date December 17, 2020                                                      Signature /s/ Karl Timothy vanVonno
                                                                                            Karl Timothy vanVonno

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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    Case 20-12729-BFK   Doc 1    Filed 12/17/20 Entered 12/17/20 12:56:56   Desc Main
                                Document      Page 10 of 18


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                        Ally
                        P.O. Box 380901
                        Bloominton, MN 55438


                        American Express
                        P.O. Box 1270
                        Newark, NJ 07101-1270


                        Andrew Krug
                        5605 4th St. S.
                        Arlington, VA 22204


                        Andrew S. Kasmer, Esq.
                        4020 University Dr., Suite 501
                        Fairfax, VA 22030


                        Anne Arundel Waste Water
                        P.O. Box 427
                        Annapolis, MD 21404-0427


                        Ariana Papanicolas
                        1806 E. Third St.
                        Farmville, VA 23901


                        Arlington County
                        2100 Clarendon Blvd.
                        Suite 215
                        Arlington, VA 22201


                        Arthur T. K. Norris, Esq.
                        11130 Farifax Blvd.
                        Suite 310
                        Fairfax, VA 22030


                        Beacon Roofing/The Roof Center
                        P.O. Box 418527
                        Boston, MA 02241-8527


                        Bean Kinney & Korman PC
                        Attn: Samuel J. Banks, Esq.
                        2300 Wilson Blvd., 7th Fl.
                        Arlington, VA 22201
Case 20-12729-BFK   Doc 1    Filed 12/17/20 Entered 12/17/20 12:56:56   Desc Main
                            Document      Page 11 of 18



                    BGE
                    P.O. Box 1475
                    Baltimore, MD 21203


                    Brett Petit
                    5412 N. Carlin Springs Rd.
                    Arlington, VA 22203


                    Brian & Danielle Quarles
                    8 N. Madison St.
                    Arlington, VA 22203


                    Brian Sain
                    5716 8th Rd. N.
                    Arlington, VA 22205


                    Builder Services Group, Inc.
                    d/b/a Davenport Insulation
                    7400 Gateway Ct.
                    Manassas, VA 20109-7312


                    Builders Insulation
                    CWI Holdings
                    615 Falmourth St.
                    Warrenton, VA 20186


                    Carter Lumber
                    P.O. Box 40
                    Kent, OH 44240-0001


                    Christopher S. Young, Esq.
                    Business & Tech Law Group
                    6310 Hillside Ct., Suite 160
                    Columbia, MD 21046


                    City of Fairfax
                    Parking Enforcement Center
                    P.O. Box 2085
                    Tarrytown, NY 10590-9085


                    CMI Credit Mediators, Inc.
                    P.O. Box 456
                    Upper Darby, PA 19082
Case 20-12729-BFK   Doc 1    Filed 12/17/20 Entered 12/17/20 12:56:56   Desc Main
                            Document      Page 12 of 18



                    Cook Craig & Francuzenko, PLLC
                    Attn: Philip C. Krone, Esq.
                    3050 Chain Bridge Rd. #200
                    Fairfax, VA 22030


                    David & Christine Joy
                    51 S. Edison St.
                    Arlington, VA 22204


                    David & Lauren Gornish
                    2000 S. Lowell St.
                    Arlington, VA 22204


                    DC Treasurer
                    P.O. Box 2014
                    Washington, DC 20013-2014


                    Deborah Papanicolas
                    4881 Wheatstone Dr.
                    Fairfax, VA 22032


                    Dunlap Bennett & Ludwig PLLC
                    Attn: George A. Hawkins, Esq.
                    8300 Boone Blvd., Suite 550
                    Vienna, VA 22182


                    Eric & Erin McNett
                    5947 8th Rd. N.
                    Arlington, VA 22205


                    Executive Law Partners, PLLC
                    Attn: Milton C. Johns, Esq.
                    4000 Legato Rd., Suite 1100
                    Fairfax, VA 22033


                    Fitzgerald Properties
                    1447-G1 Dolley Madison Blvd.
                    McLean, VA 22101


                    Fullerton & Knowles, P.C.
                    Attn: Kavita S. Knowles, Esq.
                    12642 Chapel Rd.
                    Clifton, VA 20124
Case 20-12729-BFK   Doc 1    Filed 12/17/20 Entered 12/17/20 12:56:56   Desc Main
                            Document      Page 13 of 18



                    Gabriel Construction, LLC
                    3050 Chain Bridge Rd.
                    Suite 200
                    Washington, DC 20030


                    HDS Drywall Service, Inc.
                    43760 Trade Center Pl.
                    Suite 150
                    Sterling, VA 20166-2188


                    Henry & O'Donnell, P.C.
                    Attn: Kevin M. O'Donnell, Esq.
                    300 N. Washington St., #204
                    Alexandria, VA 22314


                    Hilton Perreira
                    4406 Elan Pl.
                    Annandale, VA 22003


                    James Lester, Esq.
                    5922 Sunderleigh Dr.
                    Sunderland, MD 20689


                    Janet Presswood
                    117 S. Irving St.
                    Arlington, VA 22204


                    Jason & Chandra Olson
                    5165 11th St. S.
                    Arlington, VA 22204


                    Jason & Rebecca Harrington
                    1634 N. Buchanan St.
                    Arlington, VA 22207


                    Jennifer Lynch
                    5817 22nd St. N.
                    Arlington, VA 22205


                    Jesse Scaduto
                    2024 N. Woodstock St.
                    Arlington, VA 22207
Case 20-12729-BFK   Doc 1    Filed 12/17/20 Entered 12/17/20 12:56:56   Desc Main
                            Document      Page 14 of 18



                    Jiffy John
                    1320 Marblewood Ave.
                    Capitol Heights, MD 20743


                    Jimmy's Septic L.L.C.
                    5922 Sunderleigh Dr.
                    Sunderland, MD 20689


                    Josh & Kate Wellner
                    876 N. Kensington St.
                    Arlington, VA 22207


                    Karl Timothy vanVonno
                    2006 Pony Island Ln.
                    Berlin, MD 21811


                    Kristopher Klaich
                    441 2nd St. E
                    Washington, DC 20003


                    Law Office Pucin & Friedland
                    1699 E. Woodfield Rd.
                    Schaumburg, IL 60173


                    Matt & Christine Wagner
                    130 S. Abington St.
                    Arlington, VA 22204


                    Michael & Sara Grawe
                    5721 5th St. N.
                    Arlington, VA 22205


                    Milton Jones, Esq.
                    Executive Law Partners
                    4000 Legato Rd., Suite 1100
                    Fairfax, VA 22033


                    Ming Yun Zhao
                    22 Arden St.
                    Berlin, MD 21811


                    Mt. Everest Engineering, LLC
                    7520 Diplomat Dr., Suite 201
                    Manassas, VA 20109
Case 20-12729-BFK   Doc 1    Filed 12/17/20 Entered 12/17/20 12:56:56   Desc Main
                            Document      Page 15 of 18



                    Nissan Motor Acceptance
                    P.O. Box 660366
                    Dallas, TX 75266-0366


                    Paintworx
                    45687 Elmwood Ct.
                    Sterling, VA 20166


                    Pepco
                    P.O. Box 13608
                    Philadelphia, PA 19101


                    Pesner Altmiller et al.
                    Attn: Leonard C. Tengco, Esq.
                    7926 Jones Branch Dr., #930
                    Tysons Corner, VA 22102


                    Pesner Altmiller et al.
                    Attn: John C. Altmiller, Esq.
                    7926 Jones Branch Dr., #930
                    McLean, VA 22102


                    Ralph & Danna Walls
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Case 20-12729-BFK   Doc 1    Filed 12/17/20 Entered 12/17/20 12:56:56   Desc Main
                            Document      Page 16 of 18



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Case 20-12729-BFK   Doc 1    Filed 12/17/20 Entered 12/17/20 12:56:56   Desc Main
                            Document      Page 17 of 18



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            Case 20-12729-BFK                         Doc 1           Filed 12/17/20 Entered 12/17/20 12:56:56             Desc Main
                                                                     Document      Page 18 of 18



                                                               United States Bankruptcy Court
                                                                       Eastern District of Virginia
 In re      VP Construction, LLC                                                                           Case No.
                                                                                   Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for VP Construction, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 December 17, 2020                                                     /s/ Steven B. Ramsdell,
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